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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


UNITED STATES OF AMERICA,

         Plaintiff,                           Case No. 1:20−cr−183

   v.                                         Hon. Robert J. Jonker

TY GERARD GARBIN,

         Defendant.
                                       /



                          NOTICE OF HEARING


TAKE NOTICE that a hearing has been scheduled as set forth below:

Type of hearing(s):   Change of Plea Hearing
Date/Time:            January 27, 2021 11:00 AM
Chief Judge:          Robert J. Jonker
Place/Location:       699 Federal Building, Grand Rapids, MI




                                           ROBERT J. JONKER
                                           Chief United States District Judge

Dated: January 21, 2021          By:        /s/ Susan Driscoll Bourque
                                           Case Manager
